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  1 Amir J. Goldstein, Esq. (SBN 255620)
    ajg@consumercounselgroup.com
  2
    The Law Offices of Amir J. Goldstein, Esq.
  3 7034 Beverly Blvd., Suite 212
    Los Angeles, CA 90036
  4
    Tel: 323.937.0400
  5 Fax: 866.288.9194
  6
      Attorney for Plaintiff
  7
      David J. Kaminski (SBN 128509)
  8
      KaminskiD@cmtlaw.com
  9   Michael P. Lavigne (SBN 216538)
 10   LavigneM@cmtlaw.com
      CARLSON & MESSER LLP
 11   5901 W. Century Blvd., Suite 1200
 12   Los Angeles, CA 90045
      Telephone 310.242.2200
 13   Fax 310.242.2222
 14
    Attorneys for Defendant
 15 MERCHANTS CREDIT CORPORATION d/b/a
 16 MERCHANTS CREDIT ASSOCIATION
 17
 18                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 19
      CHAIM WOLMARK                                 CASE NO. 2:23-CV-7126-SVW-RAO
 20
 21                 Plaintiff,
 22
             vs.
 23                                                 STIPULATION OF DISMISSAL
      MERCHANTS CREDIT
 24
      CORPORATION d/b/a MERCHANTS
 25   CREDIT ASSOCIATION
 26
                    Defendants.
 27
 28
                                                   1
                                       Stipulation of Dismissal
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                                       #:57



  1         IT IS HEREBY STIPULATED AND AGREED, by and between the
  2 undersigned counsel on behalf of their respective clients that pursuant to Rule
  3 41(a)(1), Plaintiff’s causes of action against Defendant Merchants Credit
  4 Corporation d/b/a Merchants Credit Association are dismissed with prejudice. Each
  5 party shall bear its own costs and attorneys’ fees.
  6
  7         SO STIPULATED.
  8
  9   DATED: February 28, 2024         Respectfully Submitted,
 10
                                       LAW OFFICES OF AMIR J. GOLDSTEIN
 11
 12
 13                                    By: Amir J. Goldstein 1
 14                                        Amir J. Goldstein
                                           Attorney for Plaintiff
 15                                        Chaim Wolmark
 16
 17    DATED: February 28, 2024         CARLSON & MESSER LLP
 18
 19                                     By: Michael P. Lavigne
 20                                         Michael P. Lavigne
                                            Attorney for Defendant
 21
                                            Merchants Credit Corporation d/b/a
 22                                         Merchants Credit Association
 23
 24
 25
 26         1
             I, Amir J. Goldstein, hereby attest, pursuant to Local Rule 5-4.3.4(a)(2), that
 27 all other signatories listed, and on whose behalf the filing is submitted, concur in the
 28 filing’s content and have authorized the filing.
                                                    2
                                        Stipulation of Dismissal
